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 Attorneys for the Plaintiffs

                        IN THE UNITED STATES DISTRICT COURT,
                                      DISTRICT OF UTAH


  ESTATE OF PATRICK HARMON SR.;                      STIPULATED MOTION TO EXTEND
  PATRICK HARMON II, as Personal                         DEADLINES AND AMEND
  Representative of the Estate of Patrick                 SCHEDULING ORDER
  Harmon Sr., TASHA SMITH, as heir of
  Patrick Harmon Sr.,                                    Case No. 19-cv-00553-HCN-CMR

  Plaintiffs,                                            Honorable Howard C. Neilson, Jr.
                                                         Magistrate Judge Cecelia Romero
  vs.

  SALT LAKE CITY, a municipality; and
  OFFICER CLINTON FOX, in his individual
  capacity,

  Defendants.



         Plaintiffs Estate of Patrick Harmon Sr., Patrick Harmon II, and Tasha Smith (“Plaintiffs”)

 and Defendants Salt Lake City and Clinton Fox (“Defendants”), through their respective counsel

 of record, hereby stipulate and jointly move the Court for entry of an Order amending the

 Scheduling Order signed by the Court on January 6, 2022. (Dkt. No 50).

         The parties submitted two sets of proposed deadlines with the Attorney Planning Meeting

 Report and proposed Scheduling Order. (Dkt. Nos. 48, 50). The parties now stipulate to one set
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 of deadlines, which reflect the deadlines Defendants proposed for the initial Scheduling Order

 with a 60-day extension of time for each. The parties have been engaged in written discovery and

 multiple deposition dates are scheduled in June. The parties believe an additional 60-day

 extension will accommodate remaining discovery matters and is proportional to the needs of this

 case.

         A proposed form of order is submitted herewith.

         Dated: 6 June 2022

                                              DEISS LAW PC

                                              s/ Andrew G. Deiss
                                              Andrew G. Deiss
                                              Corey D. Riley
                                              Attorneys for Plaintiffs

         Dated: 6 June 2022

                                              SALT LAKE CITY CORPORATION

                                              Katherine Nichols
                                              Katherine Nichols
                                              Attorney for Defendants




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